           Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 1 of 27



                                                                                                   !=•· i: ·1 ; Gl c~ri SOFFICE
                                                                                                       li.S.D.C. -Atlanta
                             NORTHERN DISTRICT OF GEORGIA

                               UNITED STATES DISTRICT COURT                                          MAY 23 2022



IRVING A HARNED, JR., ; .

                     Plaintiff:
Vs.:
                                                                   CIVIL ACTION

                                                                            1 :22-CV-204 2
CHRISTOPHER M. CARR.

                      Defendant. :


------------------------------------------------------------------------------------------------------------------------


            COMPLAINT FOR DEPRIVATION OF RIGHTS, CONSPIRA CY

                                   AND ABUSE OF OFFICE



       ( Sanctioned by 42 U.S.C. Section 1983 U.S. Code- 42. Annotated title 42. The Public

Health And Welfare Section 1983. Civil action for deprivation of rights . )



         COMES NOW, Irving A. Harned , Jr. ( hereafter: Plaintiff) and files this "Complaint For

Deprivation of Rights, Conspiracy, and Abuse of Office against Christophe r M. Carr ( hereafter:

Defendant )

              Access to this Court is sanctioned by ( 42 U.S.C. Section 1983 . U.S. Code - 42.

Unannotate d title 42. The Public Health and Ware Section 1983. Civil action for deprivation of

rights.)




                                                                                                                                  1
          Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 2 of 27




                                   OPENING STATEMENT



            THE HORR OR OF A DISTRICT ATTORNEY ABUSING
                                                       THEIR OFFICE IS BEST
  SHOWN IN THE NOW FORE VER INFEMOUS TREVON
                                            MARTIN MURD ER CASE.



            LIKEWISE, DEFENDANT IS ABUSING HIS OFFICE BY
                                                         PROTECTING PIEDMONT
 HEALTHCARE, INC., FROM THE CONSEQUENCES OF
                                            THE MOST HORRIFIC HOSPITAL
 ATROCITY IN AMERICAN HISTORY. ( Caps for emph
                                               asis )



                                        PARTY

           Defendant Christopher M. Carr is the Attorney Gene
                                                              ral Of Georgia



                               FACTUAL ALLEGATIONS


                                             1.

                Plaintiff claims Defendant is abusing his office as Attorney
                                                                             Gene ral to protect
Piedmont Healthcare Inc., similar to D.A.acts allegedly comm
                                                             itted in the Travon Martin case.

                                             2.

              Plaintiff claims Defendant is fully aware of the ongoing and
                                                                           UN DENIED Rico-
      style criminal conspiracy explained in File No. 1;22- CV-
                                                                 1322 .. ( See Defendant's Motion
      To Dismiss, Filed May 17, 2022, File No. 1: 22-CV-1322
                                                                )

                                            3.

             In late 2021 Plaintiff filed a 50 page Lawsuit against Defen
                                                                          dant. ( See File No.
      2021-CV-355989.Fulton County Superior Court .)

                                           4.




                                                                                                   2
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 3 of 27




                   On February 25 , 2022, Judge Robert MCburney willfully and unlawfully

        dismissed without prejudice File No. 2021-CV-355989 . Plaintiff's Complaint against

        Piedmont Healthcare Inc. was also willfully and unlawfully dismissed. ( See File No.

        2021-CV- 355494 )

                                               5.

                   Defendant was in default on File No. 2021-CV-355989.

                                                    6.

               Conspiracy is evidenced by Judge MCburney basing two dismissals on

        Plaintiff's failure to get permission from Judge Kimberly E. Adams to file the Compla
                                                                                              ints
        based on a " Case Management order" from a case that closed over three years
                                                                                     ago.

                                                    7.

                   In Case No. 2018-CV-311642 Judge Adams entered a " Case Management

       Order on December 10, 2018. The Order required Plaintiff to get permission to file

       another complaint. ( See Court O~der, File No. 2018-CV- 311642, Entered Decemb
                                                                                      er
       10, 2018)

                                                8.

                   Case No. 2018-CV-311642 closed on April 26, 2019. Judge Adams lost

       jurisdiction to grant or deny anything three years ago. ( Court's Final Order,
                                                                                      Entered
       April 26,2019 )

                                               9.

                   Plaintiff filed a lawsuit against Judge Robert MCburney based on complicity. (

       See File No. 2022-CV- 361996 , Fulton County Superior court)

                                               10.

                   Defendant is one of Judge MCburney's defense attorneys in Case No. 2022-

CV- 361996; this is evidence of conspiracy. ( see File No. 2022-CV- 361996, Fulton
                                                                                   County
Superior Court.)


                                                                                                    3
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 4 of 27




                                                   11.

               Defendant knows, and has reason to know, Judge MCburney being presiding judge

 in the Fulton County Grand Jury Investigation brought by District Attorney Willis and Defendan
                                                                                                t
 is clearly a conflict that requires recusal. Conspiracy is evidenced by Judge MCburney's fa ilure

 to recuse.

                                             . 12.

              Plaintiff Filed a Complaint Against Judge Kimberly Adams in 2021 . ( See File No.

2021-CV- 353736, Fulton Superior Court.)

                                               13.

              In late 3021 , Defendant was one of Judge Kimberly Adams defense attorneys in

Case No. 2021-CV- 353736, Fulton County Superior Court, and had access to all Court records
                                                                                            .
Accordingly. Defendant knew, and had reason to know the events alleged in 1: 22-CV- 1322 )

                                               14.

               Defendant knows , and has reason to know, Judge Kimberly Adams , is a Fulton

County Superior Court judge. A plethora of evidence within the court records shows Judge

Adams in open or tacit collusion with Piedmont HealthCare, Inc .. JUDGE ADAMS BURIED A

SEVEN PAGE COMPLA INT. ( caps for emphasi s) ( see exhibit "A" "B" and "C", "D" Complain
                                                                                         t,
File No. 1: 22- CV- 1322, )

                                              15.

              Defendant knows , and has reason to know, evidence of open or tacit collusion

includes : Piedmont Defendants or Judge Adams have never acknowledged the existence of

Plaintiff's Third Amended Complain t Count Two : Fraud And Conspiracy To Commit fraud. ( see

exhibit "A" "B" and "C", "D" Complaint, File No. 1: 22- CV- 1322,)

                                             16.

              Defendant knows, and has reason to know, Judge Adams , willfully and knowingly

refused to adjud icate Plaintiff's Third Amended Complaint, Count Two : "Fraud and Conspira cy


                                                                                                  4
          Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 5 of 27




To Commit Fraud , against Piedmont Healthcare inc. " ( see exhibit "A" "B" and "C", "D"

Complaint, File No. 1: 22- CV- 1322,)

                                             17.

            Defendant knows, and has reason to know, Judge Adams may have lost judicial

immunity by willfully and knowingly, "burying" Plaintiff's Complaint. . Judge Adams had no

jurisdiction not to adjudicate a lawful lawsuit. Evidence supports this felonious act was

premeditate d. ( see exhibit "A" "B" and "C", "D" Complaint, File No. 1: 22- CV- 1322,)

                                             18.

               Defendant knows and has reason to know there is an ongoing conspiracy that

has lasted perhaps 30 years and has produced a possible excess of 50,000 POTENTIAL

RICO-STYLE CRIMINAL FELONY COUNTS. PIEDMONT DOES NOT DENY SAID

CONSPIRACY. ( See Motion To Dismiss , Filed May 17, 2022 , File No. 1: 22- CV- 1322. )

                                             19 ..

               Defendant knows, and has reason to know, At the time of this filing , Plaintiff is the

daily victim of one of the most horrific crimina l conspiracie s in Georgia history. Defendants '

criminal conspiracy continues through countless felony filing violations to defraud Plaintiff.

PIEDMON T DOES NOT DENY SAID CONSPIRACY. ( See Motion To Dismiss , Filed May 17,

2022 , File No. 1: 22- CV- 1322. )

                                              20.

                   Defendant knows, and has reason to know, evidence of open or tacit judicial

 collusion is supported by Judge Adams ruling O .C.G.A. section 16- 10- 20.1 not applicable to

 this case. This denied the plaintiff the protection of O.C.G.A. Section 16- 10- 20.1. And

 constitutes deprivation of Plaintiff's rights. PIEDMONT DOES NOT DENY SAID CLAIM ( See

 Motion To Dismiss , Filed May 17, 2022 , File No. 1: 22- CV- 1322.)

 (Seepage 4-5 , Exhibit "B" Complaint, File No. 1:22- CV-1322)

                                              21 .


                                                                                                        5
          Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 6 of 27




              Defendant knows, and has reason to know, In an act that defies all logic and

reason, evidence of judicial collusion is supported by Judge Adams dismissing Plaintiff's Third

Amended Complaint based on not attaching an "Expert Affidavit" addressing causation .

PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To Dismiss, Filed May 17, 2022, File

No. 1: 22-CV-1322.) ( See Page 7-8, Exhibit "B'', Complaint, File No. 1:22- CV-1322.)

                                            22 ..

                Defendant knows, and has reason to know, evidence of judicial collusion is

supported by Judge Adams "burying" Plaintiff's Third Amended Complaint, Count Two : Fraud

And Conspiracy To Commit Fraud. PIEDMONT DOES NOT DENY SAID CONSPIRACY. ( See

Motion To Dismiss, Filed May 17, 2022 , File No. 1: 22- CV- 1322.) ( see exhibit "A" "B'' and "C",

"D" Complaint, File No. 1: 22- CV- 1322,)

                                             23.

               Defendant knows, and has reason to know, Judge Kimberly Adams, is a Fulton

County Superior Court judge. A plethora of evidence within the court records shows Judge

Adams in open or tacit collusion with Piedmont HealthCare, Inc .. JUDGE ADAMS BURIED A

SEVEN PAGE COMPLAINT. PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To
                '
Dismiss, Filed May 17, 2022, File No. 1: 22- CV- 1322.) ( see exhibit "A" "B" and "C", "D"

Complaint, File No. 1: 22- CV- 1322,)

                                              24.

             Defendant knows, and has reason to know, evidence of open or tacit collusion

includes : Neither Defendants or Judge Adams have ever acknowledged the existence of

 Plaintiff's Third Amended Complaint Count Two: Fraud And Conspiracy To Commit fraud.

 PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To Dismiss, Filed May 17, 2022,

 File No. 1: 22- CV-1322.) ( see exhibit "A" "B" and "C", "D" Complaint, File No. 1: 22- CV-

 1322,)




                                                                                                     6
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 7 of 27




                                               25.

            Defendant knows, and has reason to know, Judge Adams, willfully and knowingly

refused to adjudicate Plaintiff's Third Amended Complaint, Count Two: "Fraud and Conspiracy

To Commit Fraud, against Piedmont Healthcare inc." PIEDMONT DOES NOT DENY SAID

CLAIM. ( See Motion To Dismiss, Filed May 17, 2022, File No. 1: 22- CV- 1322. ) ( see exhibit

"A" "B" and "C", "D" Complaint, File No. 1: 22- CV- 1322,)

                                               26

            Defendant knows, and has reason to know, Judge Adams may have lost judicial

immunity by willfully and knowingly, "burying" Plaintiff's Complaint.. Judge Adams had no

jurisdiction not to adjudicate a lawful lawsuit. Evidence supports this felonious act was

premeditated. PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To Dismiss, Filed

May 17, 2022, File No. 1: 22- CV- 1322. ) ( see exhibit "A" "B" and "C", "D" Complaint, File No.

1: 22- CV- 1322,)

                                            27.

             Defendant knows, and has reason to know Plaintiff plead : In or about September

2016, Plaintiff discovered for an undetermined number of years , perhaps 30 years or longer, the

Cardiac Services of Piedmont Hospital, Atl. failed to comply with Georgia Hospital Regulation

111- 8- 40- 20 .. Defendants do not deny Plaintiff's claim. This is a prima facie case for a long

term pattern of criminal acts, and enterprise required for a Rico claim. PIEDMONT DOES

NOT DENY SAID CLAIM. ( See Motion To Dismiss, Filed May 17, 2022 , File No. 1: 22- CV-

1322. ) ( see exhibit "A" "B" and "C", "D" Complaint, File No. 1: 22- CV- 1322,)

                                              28.

              Defendant knows, and has reason to know Georgia Hospital Regulation 111- 8-

40- 20., requires home-care education when needed or upon request. ( See Georgia Hospital

Regulation 111- 8- 40- 20. )

                                              29.


                                                                                                    7
          Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 8 of 27




             Defendant knows , and has reason to know, for many years prior to 2016 Piedmont

Defendants had no printed homecare education for any heart related condition , except post

cardiac surgery discharge instructions. This is a prima facie case for a long term pattern of fraud

and enterprise for a Rico-Claim . PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To

Dismiss, Filed May 17, 2022, File No. 1: 22- CV- 1322. ) ( see exhibit "A" "B" and "C", "D"

Complaint, File No. 1: 22- CV-

                                             30.

             Defendant knows, and has reason to know, for many years Piedmont / Defendants

have engaged in a conspiracy to defraud patients and/or conceal the fraud . Piedmont nurses

and physicians discharged thousands , upon thousands , of highly vulnerable , mostly elderly

patients with out homecare education and falsified their medical records. This is a Prima-facie

case for pattern and enterprise supporting a Rico-claim. PIEDMONT DOES NOT DENY SAID

CLAIM. ( See Motion To Dismiss, Filed May 17, 2022, File No. 1: 22- CV- 1322. ) ( see exhibit

"A" "B" and "C", "D" Complaint, File No. 1: 22- CV-

                                                 31 ..

              Defendant knows , and has reason to know, Patients needed to know what

symptoms would require immediate medical attention. There can be no doubt that untold injury,

suffering and deaths might make this the most horrific hospital atrocity in American history.

 DEATHS CAUSED BY WILLFULLY AND KNOWINGLY VIOLATING A GEORGIA HOSPITAL

 REGULATION MIGHT CONSTITUTE MURDER. PIEDMONT DOES NOT DENY SAID

 CLAIM. ( See Motion To Dismiss, Filed May 17, 2022 , File No. 1: 22- CV- 1322. ) ( see exh ibit

 "A" "B'' and "C", "D" Complaint, File No. 1: 22- CV- 1322)

                                           32.

            Plaintiff was not provided any type of discharge instructions on July 11, 2016 .

 PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To Dismiss, Filed May 17, 2022,

 File No. 1: 22- CV- 1322.) ( see exh ibit "A" "B'' and "C", "D" Complaint, File No . 1: 22- CV-


                                                                                                      8
          Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 9 of 27




                                            33 .

             One month later, on August 11, 2016, Dr. Sharma informed Plaintiff that his long

 term rapid heart murmur caused heart failure.      PIEDMONT DOES NOT DENY SAID CLAIM.

 See Motion To Dismiss , Filed May 17, 2022, File No. 1: 22- CV- 1322. ) ( see exhibit "A" "B"
                                                                                               and
 "C", "D" Complain t, File No. 1: 22- CV- 1322 )

                                            34 ..

           Plaintiff had not been instructed to regularly check his heart rate on July 11, 2016 and

if elevated go to the E.R.. PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To

Dismiss, Filed May 17, 2022, File No. 1: 22- CV- 1322. ) ( see exhibit "A" "B" and "C", "D"

Complain t, File No. 1: 22- CV- 1322 )

                                            35.

           Dr. Sharma wrote to Plaintiff's primary care physician Timothy Young stating Plaintiff's

heart failure was probably tachycard ia induced. This is a prima facie case of actual loss.

PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To Dismiss, Filed May 17, 2022 ,

File No. 1: 22- CV- 1322. ) ( see exhibit "A" "B" and "C", "D" Complain t, File No. 1: 22- CV-
                                                                                               1322



                                            36.

           Piedmon t has continued their conspirac y until this very day. For three years

Piedmon t has claimed Plaintiff was provided "Piedmon t Cardiac Surgery Discharg e instructio
                                                                                              ns
upon discharge , " PIEDMO NT DOES NOT DENY SAID CLAIM. ( See Motion To Dismiss,
                                                                                Filed
May 17, 2022, File No. 1: 22- CV- 1322.) ( see exhibit "A" "B" and "C", "D" Complaint, File
                                                                                            No.
1: 22- CV- 1322 ) ( see Page 2-3 , Renewed Motion To Dismiss, Filed Decembe r 27, 2018,
                                                                                        File
No. 2018- CV- 311

                                           37.

           In February of 2019, Piedmont filed a Response and falsely stated that Piedmont 's

position is and always has been that Plaintiff was provided the Cardiac Surgery Discharge



                                                                                                  9
            Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 10 of 27




Summary on July 11, 2016 upon discharge. When Defendant pleaded Plaintiff was provided

Cardiac Surgery Discharge Instructions on July 11, 2016, Defendants fabricated a defense.

They knew Plaintiff was Discharged without any kind of discharge Instructions. Defendants'

pleading was a felony and a deprivation of Plaintiff's rights. They were part of the ongoing

conspiracy and the statute of limitations starts when the conspiracy ends. The conspiracy has

not yet ended. PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To Dismiss , Filed

May 17, 2022, File No. 1: 22- CV- 1322.) ( see exhibit "A" "B" and "C", "D" Complaint, File No.

1: 22- CV- 1322 ( See Page 1-2, Response To Motion To Recuse, Filed February 26, 2019, File

No. 2018- CV- 311642) ( See Renewed Motion To Dismiss, Filed December 27, 2018, File No.

2018-CV- 311642)

                                             38.

             Plaintiff was an atrial fibrillation patient. The claim that an atrial fibrillation patient

would be Piedmont Post Cardiac Surgery Discharge Instructions is FALSE ON ITS FACE.

(Caps for emphasis ) . No nurse would ever instruct an atrial fibrillation patient as follows :

            (1) No nurse would instruct an atrial fibrillation patient on wound care.

            (2) No nurse would give an atrial fibrillation patient heavy lifting restrictions .

            (3) No nurse would give atrial fibrillation patients driving restrictions.

            (4) No nurse would instruct on drainage.

            (5) No nurse would instruct concerning order from wounds.

            (6) Why would Nurse Wilson instruct an atrial fibrillation patient on inability to have

a bowel movement?

            (7) No nurse would instruct an atrial Fibrillation fibrillation patient on swelling of any

 extremity / redness / order/ drainage / of any wounds.

            (8) Why would Nurse Wilson instruct an atrial fibrillation patient on inability to

 urinate?



                                                                                                           10
             Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 11 of 27




                                                                           t on nausea?
         (9) Why would Nurse Wilson instruct an atrial fibrillation patien

                                                                            t on persistent
         (10) Why would Nurse Wilson instruct an atrial fibrillation patien

vomiting?
                                                                             t to call the office for
          (11) Why would Nurse Wilson instruct an atrial fibrillation patien

fever greate r than 101.5?
                                                                             t to continue
          (12) Why would Nurse Wilson instruct an atrial fibrillation patien

using sternal precautions as instructed in the hospital?
                                                                            to do any heavy lifting?
            (13) Why would Nurse Wilson instruct an atrial fibrillation not
                                                                               t to continue
            (14) Why would Nurse Wilson instruct an atrial fibrillation patien

 ambulating as much as possible?
                                                                         pushing or pulling of any
            (15) Why would Nurse Wilson instruct an atrial not to do any

 kind?   ( See Piedm ont Cardia c Surge ry Discharge Instructions )
                                                                     Dismiss , Filed May
                 PIEDM ONT DOES NOT DENY SAID CLAIM. ( See Motion To

                                                                "C", "D" Comp laint, File No. 1: 22-
 17, 2022, File No. 1: 22- CV-13 22.) ( see exhibit "A" "B" and

  CV-13 22)
                                                                                       Court could find
                   There is no statute of limitations for " fraud on the Court ". This

                                                            pleading Plaintiff was Provided
  Piedm ont Couns els committed Fraud On The Court based on
                                                                   Renewed Motion To Dismiss ,
  Cardiac Surge ry Discha rge Instructions On July 11, 2016. ( See

  Filed Decem ber 27, 2018 , File No. 2018- CV-31 1642)
                                                  39.

                                                                                Janua ry 7, 2019,
                   Being one of countless thousa nds of defrauded patients , on

                                                                  And Consp iracy To Comm it
   Plaintiff filed his Third Amend ed Complaint, Count Two: Fraud
                                                    Motion To Dismiss, Filed May 17,
   Fraud. PIEDM ONT DOES NOT DENY SAID CLAIM. ( See
                                                                    "D" Complaint, File No. 1: 22-
   2022, File No. 1: 22- CV- 1322. ) ( see exhibit "A" "B" and "C",

                                                                     )
   CV- 1322 ) ( See Exhibi t "A" Comp laint, File No. 1: 22-CV- 1322
                                                   40 .

                                                                                                          11
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 12 of 27




                 Defendant knows , and has reason to know, " Plaintiff is one of thousands of

defrauded patients because there was an ongoing criminal conspiracy to defraud patients out of

printed discharge instructions they are required to receive under Georgia Hospital Regulations.

PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To Dismiss, Filed May 17, 2022,

File No. 1: 22- CV-1322. ) ( see exhibit "A" "B" and "C", "D" Complaint, File No. 1: 22- CV-1322

     ( Georgia Hospital regulation 111- 8- 40- 20) ( See Page# 9, Exhibit "A" Complaint, File

No. 1: 22- CV- 1322 )

                                             41.

             Defendant knows, and has reason to know, On April 26 , 2019 Judge Adams

dismissed Plaintiff's Complaint without acknowledging the existence of " Count Two : Fraud and

Conspiracy To Commit Fraud. " PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To

Dismiss, Filed May 17, 2022, File No. 1: 22- CV- 1322.) ( see exhibit "A" "B" and "C", "D"

Complaint, File No . 1: 22- CV- 1322 )

                                             42.

             Defendant knows, and has reason to know, Plaintiff was denied access to the court.

The Court's failure to address Count two was a willful and deliberate deprivation of Plaintiff's

rights under U.S.C. 42. Section 1983 . ( see exhibit "A" "B" and "C", "D" Complaint, File No. 1:

22- CV- 1322,)

                                             43 .

            Defendant knows , and has reason to know, on October 26, 2020 Plaintiff filed a

Motion To Set Aside dismissal of Plaintiff's Third Amended Complaint, Under O.C.G.A. Section

9- 11- 60. Plaintiff claimed the Court failed to adjudicate Plaintiff's Count Two , " Fraud And

Conspiracy To Commit Fraud ". ( See Exhibit "D", Complaint, File No. 1 :22-CV- 1322)

                                              44 .

          Defendant knows , and has reason to know, this is Judge Adams second order fail ing

to address Plaintiffs " Fraud and Conspiracy To Commit Fraud" Complaint is evidence of Judge


                                                                                                   12
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 13 of 27




Adams willful intent to bury Plaintiff' s legal action against Piedmo nt Healthc
                                                                                 are inc. PIEDMONT

 DOES NOT DENY SAID CLAIM. ( See Motion To Dismiss , Filed May 17, 2022,
                                                                         File No. 1: 22-

CV- 1322. ) ( see exhibit "A" B" and "C", "D" Compla int, File No. 1: 22- CV-
                                                                              1322)          ( See

Exhibit "C", Compla int, 1; 22-CV- 1322 )

                                             45

             Defenda nt knows , and has reason to know, on Septem ber 1, 2021 , Judge Adams

denied Plaintiff' s Motion To Set- Aside without acknowl edging the existenc e
                                                                               of Count Two:

"Fraud And Conspir acy To Commit Fraud." For the second time Plaintiff was
                                                                           denied access to

the Court. This willful act was a clear deprivat ion of rights. PIEDMO NT DOES
                                                                               NOT DENY
SAID CLAIM. ( See Motion To Dismiss , Filed May 17, 2022, File No. 1: 22- CV-
                                                                              1322. ) ( see
exhibit "A" "B" and "C", "D" Compla int, File No. 1: 22- CV- 1322 ) ( See Exhibit
                                                                                  "C", Compla int,

1; 22-CV- 1322 )

                                            46 .

             Defenda nt knows, and has reason to know, Judge Adams and Piedmo nt have

never acknow ledged in any court record that Plaintiff filed count two: Fraud
                                                                              And Conspir acy To

Commit fraud. PIEDMO NT DOES NOT DENY SAID CLAIM. ( See Motion
                                                               To Dismiss , Filed

May 17, 2022, File No. 1: 22- CV- 1322. ) ( see exhibit "A" "B" and "C", "D"
                                                                             Compla int, File No.

1: 22- CV- 1322 ) ( See all court records )

                                            47.

          Defenda nt knows , and has reason to know, Judge Adams ruling O.C.G.A . section
                                                                                          16-
10- 20.1 not applicab le to this case. This denied the plaintiff the protectio n
                                                                                 of O .C.G.A. Section

16- 10- 20.1 . And constitu tes deprivat ion of Plaintiff's rights. ( See page 4-5,
                                                                                    Exhibit "B"

Compla int, File No. 1: 22-CV- 1322 )

                                              25.

                 Defenda nt knows , and has reason to know, in an act that defies all logic and

reason , evidenc e of judicial collusion is supporte d by Judge Adams dismissi
                                                                               ng Plaintiff's Third


                                                                                                      13
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 14 of 27




 Amended Complaint based on not attaching an "Expert Affidavit" addressing causation.

 PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To Dismiss, Filed May 17, 2022,

 File No. 1: 22- CV- 1322. ) ( see exhibit "A" "B" and "C", "D" Complaint, File No. 1: 22- CV- 1322

) ( see Page 2-3, Renewed Motion To Dismiss, Filed December 27, 2018, File No. 2018- CV-

311 ) ( See Page 7-8 , Exhibit "B", Complaint, File No. 1: 22- CV- 1322 )

                                            26.

                On October 25, 2018 Judge John B. Sumner ordered Plaintiff and Defendant to

try and reach an agreement regarding Defendants October 4, 20 18 petition for a temporary

restraining order. Appellees' Counsels Paul Weathington, Jesse Brocker and Appellees'

in-house counsel Allison Richardson along with Appellant gathered together. (no court record)

                                                                                           27.

                Plaintiff took the opportunity on October 25 , 20 18 to review his Medical

Records with Piedmont Counsels.

                                            28.

                On October 25, 2018 the group looked at the Original discharge summary

generated by Nurse Stacey Wilson for July 11, 20 16. The group looked at the discharge summary

"edited" by Dr. William Blincoe, Chief of Cardiology. Appellant showed Appellees that

Seventeen months

later, Dr. Blincoe had "unlawfully" altered Nurse Wilson's original summary to read Appellant

was provided verbal and written discharge instructions for post cardiac surgery patients. ( See

Discharge Summaries , Exhibit "A" Complaint, 1: 22-CV-1322 )


                                           29.


        On October 25, 2018, Appellant Informed Defendants " Counsels that if, in the future,



                                                                                                  14
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 15 of 27




 they filed a document with the Court falsely stating that Plaintif f was provided Piedmon
                                                                                           t Post
 Cardiac Surgery Discharge Instructions, they would be committing a felony filing violation
                                                                                            of
 O.C.G.A. Section 16- 10- 20.1. .Furthemore, because they are officers of the court, they
                                                                                          would
 be committing fraud on the Court. ( See Factual Allegation # 34, Third Amended Compla
                                                                                       int,
 Filed January 7, 2019, File No. 2018-CV- 311642 )


                                         30.

          Defendant knows, and has reason to know, every Factual Allegation is easily

verifiable in the Court record . The Factual Allegations show Piedmont felony filings,
                                                                                       and false
oral arguments, done for the purpose of fraudulently converting an ordinary negligen
                                                                                     ce
complaint, as pleaded, into a professional medical malpractice complaint. By fraudule
                                                                                      ntly
converting Appellant's "Complaint For Ordinary Negligence" into a professional
                                                                               medical
malpractice complaint, Appel lees' had the Complaint dismissed for failure to attach
                                                                                     an "expert
Affidavit" upon filing. (See page 8-9, Final Order, Filed April 26, 2019)

                                         31 .

           Defendant knows, and has reason to know, on January 7, 2019 Appellant filed his

"Third Amended Complaint." Plaintiff's seven page, Count Two for "Fraud And
                                                                            Conspiracy To
Commit Fraud, has never been ADDRESSED by Defendants or Judge Adams.
                                                                     Therefore ,
Appellant was willfully denied " Access to the Court." PIEDMO NT DOES NOT DENY
                                                                               SAID
CLAIM. ( See Motion To Dismiss, Filed May 17, 2022, File No. 1: 22- CV- 1322.
                                                                              ) ( see exh ibit
"A" "B" and "C", "D" Complaint, File No. 1: 22- CV- 1322 ) ( See all court records
                                                                                   )



                                         32.

            Defendant knows , and has reason to know, during the August 18, 2021 Motions

Hearing Plaintiff argued as follows: "Your Honor, they presented no defense for
                                                                                my seven -page
--Count Two, 'Fraud and Conspiracy To Commit Fraud. And Your Honor, you skipped
                                                                                that. You


                                                                                                   15
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 16 of 27




didn 't read it. You dismissed the entire complaint without bringing up or even mentioning my

seven- page complaint for Fraud and Conspiracy To Commit Fraud." PIEDMONT DOES NOT

DENY SAID CLAIM. ( See Motion To Dismiss, Filed May 17, 2022, File No. 1: 22- CV- 1322. )

( see exhibit "A" "B" and "C", "D" Complaint, File No. 1: 22- CV- 1322 ) ( See all court records )

( See Lines 11-17, Page 15, Motions transcripts.)

33.

            During the August 18, 2021 Motions Hearing Plaintiff argued, " you also ruled that

causation is addressed at the time of the filing . And , Your Honor, that is simply not true.

Causation is addressed at the time of trial .. .You also ruled that O.C.G.A. Section 16-10-20.1

was not applicable." PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To Dismiss,

Filed May 17, 2022, File No. 1: 22- CV- 1322. ) ( see exhibit "A" "B'' and "C", "D" Complaint, File

No. 1: 22- CV- 1322 ) ( See all court records ) ( See Lines 11-17, Page 15, Motions

transcripts.)                                                  (See lines 4-7, Page 18, Motions

transcript, August 18, 2021.)

                                           34

                Defendant knows , and has reason to know, Plaintiff's Third Amended Complaint,

"Count One, was clearly simple , ordinary, or gross negligence as pleaded based upon the

Georgia Court Of Appeals ' explanation of what constitutes simple , ordinary, or gross negligence

in a medical setting. (See Pain Specialists, P.C. v. Brown, 303 Ga. 265, 265, 811 S.E.2d 360,

362 (2018). ( See Carter Vs Vista Care 335 Ga. app 616 616 621 (3) 1782 se) 2d )

                                            35.

                Appellant's Third Amended Complaint, Count One, was based on Factual

Allegation# 5 as follows : "Plaintiff was admitted to the Cardiac Services of Piedmont .Hospital

Atlanta and was diagnosed with atrial fibrillation with rapid heart rate . On July 11, 2016 Plaintiff

requested education in the form of discharge instructions. Georgia Hospital Regulations state,

"The hospital shall provide education to patients and their family members or interested persons


                                                                                                    16
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 17 of 27




as necessary or a,s requested by the patient, to prepare them for the patient's post -hospital

care ." (Georgia Hospital Regulations 111-8-40-20.)

               When Appellant requested education , under Georgia Regulations , the hospital was

requ ired to provide education. In this case the medical decision is the Georgia Hospital

Regulation itself." No "Expert Affidavit" is required when the plead ing is failure to follow hospital

regulations.

            " Failing to provide the required education denied Plaintiff of the education that would

have prevented his chronic heart failure. Dr. Milla prescribed that Plaintiff be provided with

discharge instructions contained in a packet entitled Cardiac Surgery Discharge Summary. The

Packet contains printed discharge instructions. On July 11 , 2016 Nurse Stacey Wilson failed to

hand this packet to Plaintiff upon discharge. Fail ing to follow Dr Milla's orders was ord inary

negligence, simple, or gross negligence. Failing to follow Georgia Hospital Regulation s was

ordinary, simple, or gross negligence. The handing out of discharge instructions is routine

because every patient is to receive them upon discharge. Nurse Wilson did not make a medical

decision not to provide discharge instructions. No medical expertise was requi red to Google up

atria l fibrillation homecare instructions. Anyone could have Googled up atrial fib ri llation

homecare instructions on July 11, 2016. Failure to perform routine acts does not constitute

medical negligence but rather ordinary, simple or gross negligence." (See Pain Specialists, P. C.

v. Brown, 303 Ga. 265, 265, 811 S.E.2d 360, 362 (2018). ( See Carter Vs Vista Care 335 Ga.

app 616 616 62 1 (3) 1782 se) 2d ( See Factual Allegation# 5, Thi rd Amended Complaint, Filed

January 7, 2019 )

                                             36.

       Defendant knows , and has reason to know, Plaintiff's dismissed Compla int before th is

Court was based entirely on Defendants' conspiring to defraud Plaintiff out of his Thi rd

Amended Complaint by unlawfully converting Plaintiff's "Ord inary Negligence Complaint" into a

professional negligence _complaint by inserted defense, and dispute of facts , for purposes of a
        Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 18 of 27




their, Motion To Dismiss. (See page 2, Renewed Motion To Dismiss, Filed December 27, 2018)

( See Defendants Oral Arguments, Motions Hearing Transcript, March 27, 2019, File No

2018-CV- 311642) ( See Response in Opposition To Recusal, filed February 26, 2019 File No.

2018- CV- 311642 )

                                            37,

              Defendant knows, and has reason to know, by fraudulently converting Appellant's

"Complaint For Ordinary Negligence" into a professional medical malpractice complaint,

Appellees' had the Complaint dismissed for failure to attach an "expert Affidavit" upon filing.

(See Page 8-9, Exhibit "B")

                                            38.

            Defendant knows, and has reason to know, Plaintiff pleaded that Nurse Stacey

Wilson failed to provide Dr. Federico Milla's prescribed discharge instructions upon Plaintiff's

discharge on July 11, 2016. That constitutes simple, ordinary, or gross negligence in a medical

setting as clearly defined by the Georgia Court of Appeals. (See Pain Specialists, P.C. v. Brown ,

303 Ga. 265, 265, 811 S .E.2d 360, 362 (2018). ( See Carter Vs Vista Care 335 Ga. app 616 616

621 (3) 1782 se) 2d ( See Factual Allegation# 5, Third Amended Complaint, Filed January 7,

2019)

                                            39.

           Defendant knows, and has reason to know, Piedmont I Defendants unlawfully

pleaded Appellant was provided cardiac surgery discharge instructions" upon discharge, and that

constitutes professional medical malpractice and required an attached "Expert Affidavit", upon

filing. ( See Factual Allegation# 5, Exhibit "A") ( See Page 2, Renewed Motion To Dismiss,

Filed December 27, 2018, File No. 20 l 8-CV-311642 ) ( See Appellees Oral Arguments,

Transcript, March 27, 2019, File No. 2018-CV- 311642)         (See Pain Specialists, P.C. v.




                                                                                                   18
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 19 of 27




Brown, 303 Ga. 265, 265, 811 S.E.2d 360, 362 (2018) . ( See Carter Vs Vista Care 335 Ga. app

616 616 621 (3) 1782 se. 2d )

                                             40.

             On October 4, 2018 Piedmont Healthcare, Inc. filed a petition for stalking to protect

Piedmont attorneys, employees, associates, and family members. Plaintiff had not visited

Piedmont Hospital in 11 months and had only spoken to one Piedmont employee , on one

occasion, in 11 months. (See 18-CVE- 1805, Cherokee Superior Court)

                                             41.

              On October 4, 2018 Defendants requested that Piedmont Attorneys be protected

in their petition for stalking. Plaintiff had communicated with Piedmont's Attorneys . In fact,

Piedmont had directed Plaintiff to direct all communication to . the Weathington Law firm .

18-CV- 1805, Cherokee County Superior Court )

                                             42.

             The Requested Protective Order Hearing was held in Cherokee County Superior

Court on October 25, 2018.

                                               43 ..

             On October 25, 2018 Judge Sumner instructed Piedmont's attorneys and Plaintiff

 to try and reach an agreement without Court involvement. Ms. Allison Richardson is the

 in-house-attorney for Piedmont Healthcare. Ms. Richardson attended the Court requ ired

 meeting on October 25, 2018. Both parties agreed that attorneys would not be protected . (No

 Court record )

                                                   44.

            The Court Order was entered on November 21 , 2018. The Order stated , " That

 Respondent has no contact of any type, direct or indirect, or through another person with

 Piedmont's employees , Board Members, associates or family members, including but not



                                                                                                     19
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 20 of 27




                                                                unication . (See 18-CVE-1805,
limited to telephone , fax , email , or any other means of comm

Cherokee County )

                                               45.

             Defendant knows, and has reason to know Piedmont
                                                              I defendants tried to

                                                      2019 Defendants filed a violation of
frame Plaintiff for Conte mpt of Court. On August 16,
                                                            "This Order specifically restricted Mr
O.C.G.A. Section 16-10 - 20.1. Defendants fa lsely fi led ,
                                                             ing email contact, with Piedmont's
Harned from having any contact ( direct or indirect ) includ
                                                       -1805 , Cherokee Superior Court )
employees , Board memb ers, and Attorneys. ( See 18-CV

                                                46.
                                                                    I defendants tried to
                   Defendant knows, and has reason to know Piedmont
                                                           Piedmont filed anoth er violation of
frame Plaintiff for Conte mpt of Court. On January 13,
                                                         " The Order specifically restricted Mr.
O.C.G.A. Section 16- 10- 20.1 . Defendants falsely filed
                                                             ing email contact, with petitio ner's
 Harned from having any contact, direct or indirect ) includ
                                                    DOES NOT DENY SAID
 employees , Board Members, and attorneys. PIEDMONT
                                                            2022, File No. 1: 22- CV- 1322. ) (
 CONSPIRACY. ( See Motion To Dismiss, Filed May 17,
                                                              CV- 1322,) ( See 18CVE1805 )
 see exhibit "A" "B" and "C", "D" Comp laint, File No. 1: 22-
                                                                                                47 ..


                                                                    The Court found Pla intiff
          The Conte mpt of Court Hearing held on February 12, 2020.

 not to be in Contempt of court.


                                              48.

                                                                          act that defi es logic and
             Defendant knows , and has reason to know, in an aston ishing
                                                            on ALL SIX pages in the Final Order,
 reason , Judge Adams willfully misrepresents material fact
                                                             la int filed in 2020 was based on the
 and before this Court by finding Plaintiff's dismissed Comp
                                                     January 7, 2019. ( See Pages 1-6,
 same events as The Third Amended Complaint filed on

  "Exhibit "C" )


                                                                                                        20
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 21 of 27




                                              49.

             All this Court needs to do is read the 2018 Complaint and the 2020 Complaint
                                                                                          to know
 Judge Adams' finding is fraudulent. ( See Page 2-6, Exhibit" C" )



                                              50.

               Defendant knows, and has reason to know, on Septem ber 1, 2021 Judge Adams

violated O.C.G.A. Section 16- 10- 20.1., by entering the Final Order dismiss
                                                                             ing Plaintiff's
November 2020 Complaint. Dismissal was based on Plaintiff's failure to get
                                                                           the Court's
permission prior to filing as follows : "This Court entered an Order on Decem
                                                                              ber 10, 2018 in the
Original Lawsuit specifically requiring Plainti ff to request and obtain permis
                                                                                sion from this
Court before filing any civil lawsuit relating to the subject matter of this litigatio
                                                                                       n. The Order
makes clear any violation of the Order may result in the imposition of sanctio
                                                                               ns or a finding of
contempt. This Court further reminded Plainti ff of December 10 Order in its
                                                                             March 11 , 2019
Omnibus Order -      also entered in the Original Lawsuit -     and again iterated violations could

result in sanctions/contempt findings. Because no prior permission was receive
                                                                               d before filing
these new suits and various motions and notices, Plaintiff's above-styled action
                                                                                 must be
dismissed." PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To
                                                               Dismiss, Filed May
17, 2022, File No. 1: 22- CV-13 22.) ( see exhibit "A" "B'' and "C", "D" Compla
                                                                                int, File No. 1: 22-
CV- 1322,)

                                               51.

                  Plainti ff claims this constitutes willful denial of justice, denial of access to the

court, fraud on the court, a felony filing violation of O.C.G.A. section 16- 10-
                                                                                 20.1., raises a
question of law, and is unconstitutional.

                                              52.




                                                                                                      21
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 22 of 27




                  On December 16, 2020 Piedmont violated O.C.G.A. Section 16-10-20.1., by

falsely filing that Judge Adams' December 10, 2018 "Case Management Order" in a case that

closed April 26, 2019 is still in effect. The Order required Plaintiff to get the Court's permission

prior to filing any new complaints against Defendants. Defendants claimed Plaintiff's November

2020 must be dismissed for failing to get permission to file Plaintiffs November 2020 Complaint.

( See Motion To Dismiss, Filed December 16, )

                                              53.

            Defendant knows, and has reason to know, on September 1, 2021 Judge Adams

violated O.C.G.A. Section 16- 10- 20.1., by entering the Final Order dismissing Plaintiff's

November 2020 Complaint. Dismissal was based on Plaintiff's failure to get the Court's

permission prior to filing as follows : "This Court entered an Order on December 10, 2018 in the

Original Lawsuit specifically requiring Plaintiff to request and obtain permission from this

Court before filing any civil lawsuit relating to the subject matter of this litigation. The Order

makes clear any violation of the Order may result in the imposition of sanctions or a finding of

contempt. This Court further reminded Plaintiff of the December 10 Order in its March 11, 2019

Omnibus Order -     also entered in the Original Lawsuit -     and again iterated violations could

result in sanctions/con tempt findings . Because no prior permission was received before filing

these new suits and various motions and notices, Plaintiff's above-styled action must be

dismissed." (Seepage 5, Final Order, Entered September 1, 2021 )

               Plaintiff claims this constitutes willful denial of justice, denial of access to the

court, fraud on the court, a felony filing violation of O.C.G.A. section 16- 10- 20.1., raises a

question of law, and is Unconstitutional.

                                            54.


          Defendant knows, and has reason to know, Judge Adams ' Final Order contains


                                                                                                       22
           Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 23 of 27




enough evidence to prosecute Judge Adams and Appellees for fraud, collusion and "fraud on the

court".      Only Collusion can reasonably explain Judge Adams "burying" Appellant's seven

page Count Two, "Fraud And Conspiracy To Commit Fraud, ( See Exhibit "A", "B", "C", and

"D" Complaint, File No. 1:22- CV- 1322 )

                                           55 ..


                 Defendant knows, and has reason to know, Plaintiff informed Judge Adams at

least a dozen times, verified in the Court record , that the Court ignored Count Two. Therefore ,

Judge Adams willfully ignoring Appellant's legal action is willfully UNCONSTITUTIONAL. ( See

page 3, Exhibit "D" ) ( See lines 11-20, Page 15, Motions Hearing Transcript, August 18, 2021 )

                                          56 ..


                Defendant knows, and has reason to know, there is an on-going , Rico style,

conspiracy to "cover-up" what might be the most horrific event in hospital history. For an

estimated three decades, the "Cardiac Services Of Piedmont Hospital, " has been discharging

patients without Georgia Hospital Regulations required homecare education. Furthemore,

Piedmont nurses have willfully, and unlawfully, falsified thousands of these patients' medical

records.


                                          57.


                Defendant knows, and has reason to know, these patients are highly vu lnerable,

mostly elderly patients who desperately need to know what physical signs require immediate

medical attention . Untold needless injury, suffering and even deaths have undoubtedly

occurred .




              Defendant knows , and has reason to know, Judge Adams has known about all of


                                                                                                 23
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 24 of 27




this for three years. Astonishingly, no one denies Appellant's claim. That is why Plaintiff's Count

Two, Fraud and Conspiracy to Commit Fraud was " buried" and never "addressed." ( See

Exhibit "A", "B", "C" and "D", Complaint, File No. 1:22=CV- 1322))

                                             59 ..

          Defendant knows, and has reason to know, Plaintiff was willfully denied the

protection of O.C.G.A. Section 16-10- 20.1. The Court fraudulently ruled as follows:

         " Moreover, as for Plaintiff's claim under This Statute is not applicable as it applies

solely to liens, encumbrances, documents of title and instruments relating to a security interest

in title or real property." ( See page 4-5, Exhibit "B" see page 12-13, Exhibit "D" Complaint File

No. 1: 22-CV- 1322 )



                                       60

         Defendant knows, and has reason to know, there are at least 14 easily verifiable felony

filing violations ofO.C.G.A. Section 16- 10- 20.1 found in the Court record. Rule 2.15 of the

Georgia Judicial Code Of Conduct required Judge Adams to report Defendant's counsels to the

appropriate authorities. Judge Adams refused to report Defendants' counsels to the appropriate

authorities. This is more evidence showing judicial collusion.

                                       61.

            Judge Adams ignored Plaintiff's "Request For Immediate Review" to file an

interlocutory appeal for denying Appellant's Motion To Recuse. PIEDMONT DOES NOT DENY

SAID CLAIM. ( See Motion To Dismiss, Filed May 17, 2022, File No. 1: 22- CV- 1322. ) ( see

exhibit "A" "B" and "C", "D" Complaint, File No. 1: 22- CV-1322,)

 (See Request For Certificate For Immediate Review, Filed July 30, 2021 )




                                                                                                   24
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 25 of 27




                                         62.

            Defendant knows, and has reason to know, Judge Adams "BURIED" the two

following motions:

            In late November 2020 Plaintiff filed Two Motions For Relief From Judgment under

O.C.G.A. Section 9-11- 60.

            Defendants ' failed to file Responses to either Motion.

           Judge Adams Ignored/buried both Motions.

           Judge Adams ignored Plaintiff's Motion For Relief From Judgment dismissing

Plaintiff's October 17, 2018 Complaint For Fraud.

           Judge Adams ignored Plaintiff's Motion For Relief From Dismissal of Plaintiff's 2018

Complaint for Slander.

            Plaintiff claims Judge Adams' willful refusal to address Plaintiff's Two Motions For

Relief Of Judgment under 9- 11- 60., is fraud on the Court, willful denial of access to the court

,unconstitutional and a deprivation of Plaintiff's rights. Also, evidence of judicial collusion.

              PIEDMON T DOES NOT DENY SAID CLAIM. ( See Motion To Dismiss, Filed May

17, 2022, File No. 1: 22- CV- 1322.)




                                          63.

         Defendant knows, and has reason to know, in an astonishing act that defies logic and

reason, Judge Adams willfully, and fraudulentl y, misrepresented material fact and/or law on

ALL SIX pages in the Final Order.

         Judge Adams fraudulentl y ruled Appellant's dismissed Complaint, filed in 2020, 1s

based on the same events as Appellant's Third Amended Complaint filed in 2018. (see Pages

1-6, Final Order , Entered September 1, 2021 )

                                          64.


                                                                                                    25
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 26 of 27




           Plaintiff's dismissed Complaint was based on Defendants defrauding Plaintiff out of

his Third Amended Complaint, filed January 7, 20 I 9. The Factual Allegations list false felony

filings and false oral arguments made in 2018 and 2019. Because all of the Factual Allegations

are lifted from the Court record they are not in dispute.

                                          65 .

          The Court wrongly dismissed Appellants Third Amended Complaint for failure To

Attach an "Expert Affidavit" upon filing addressing causation, as follows: " " The Court finds

that in order to demonstrate the proximate cause of his 'weakened heart, ' Plaintiff would have to

introduce expert evidence and testimony... Based on the facts in evidence, in order for Plaintiff to

prove proximate cause , O.C.G.A. Section 9- 11- 9.1 would be triggered."

                Of Course, " proximate cause" is addressed during the trial phase, not upon

filing. The Court record confirms, Plaintiff has informed Judge Adams many times of this legal

error. ( See lines 25, Page 15, lines 1-4, Page 16, Motions hearing , August 18, 2021 ) ( See

Page 71, Exhibit "D".) PIEDMONT DOES NOT DENY SAID CLAIM. ( See Motion To Dismiss,

Filed May 17, 2022, File No. 1: 22- CV- 1322. )




      COUNT ONE: DEPRIVATION OF RIGHTS, COMPLICITY, ABUSE OF OFFICE.



                                             66.

        Defendant joined in a conspiracy with Piedmont Healthcare, Inc., depriving Plaintiff of

Plaintiff's Constitutional right to equal protection , and access to an impartial court,

                                             67.




                                                                                                  26
         Case 1:22-cv-02042-ELR Document 1 Filed 05/23/22 Page 27 of 27




              Plaintiff is severely hampered in receiving a possible financial reward
                                                                                      for a viable
 complaint.

                                                  68.



              Plaintiff is 78 years old living solely on social security benefits. Plaintif
                                                                                            f is in poor
health and has heart failure. The emotional pain and suffering litigatin
                                                                         g against a conspiracy for
three years is severe . Plaintiff has filed over 1000 court filings. Plaintif
                                                                              f requests 5 million
dollars for emotional pain and suffering.



         Wherefore, Plaintiff respectfully request a trial by jury and deman ds that
                                                                                     :



A     Summo ns and process issues to Defendant

B     Judgm ent be entered against Defendant for damages in excess of$
                                                                       15,000,000. Fifteen
million dollars to be entered against Defendant for potential financial
                                                                        loss, and punitive
Damages. C.         Judgm ent be entered against Defendant for damag es in excess of$

5,000,000 for physical, and emotional pain and suffering .

C.    Judgm ent be entered against Defendant for all court costs .



     This 23 rd day of May 2022.




                                                               IRVING A. HARNED, JR. Pro Se.

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Woodstock, Ga. 30189

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